Case: 1:14-cv-06056 Document #: 190-5 Filed: 10/18/17 Page 1 of 39 PageID #:2690
Case: 1:14-cv-06056 Document #: 190-5 Filed: 10/18/17 Page 2 of 39 PageID #:2691
Case: 1:14-cv-06056 Document #: 190-5 Filed: 10/18/17 Page 3 of 39 PageID #:2692
Case: 1:14-cv-06056 Document #: 190-5 Filed: 10/18/17 Page 4 of 39 PageID #:2693
Case: 1:14-cv-06056 Document #: 190-5 Filed: 10/18/17 Page 5 of 39 PageID #:2694
Case: 1:14-cv-06056 Document #: 190-5 Filed: 10/18/17 Page 6 of 39 PageID #:2695
Case: 1:14-cv-06056 Document #: 190-5 Filed: 10/18/17 Page 7 of 39 PageID #:2696
Case: 1:14-cv-06056 Document #: 190-5 Filed: 10/18/17 Page 8 of 39 PageID #:2697
Case: 1:14-cv-06056 Document #: 190-5 Filed: 10/18/17 Page 9 of 39 PageID #:2698
Case: 1:14-cv-06056 Document #: 190-5 Filed: 10/18/17 Page 10 of 39 PageID #:2699
Case: 1:14-cv-06056 Document #: 190-5 Filed: 10/18/17 Page 11 of 39 PageID #:2700
Case: 1:14-cv-06056 Document #: 190-5 Filed: 10/18/17 Page 12 of 39 PageID #:2701
Case: 1:14-cv-06056 Document #: 190-5 Filed: 10/18/17 Page 13 of 39 PageID #:2702
Case: 1:14-cv-06056 Document #: 190-5 Filed: 10/18/17 Page 14 of 39 PageID #:2703
Case: 1:14-cv-06056 Document #: 190-5 Filed: 10/18/17 Page 15 of 39 PageID #:2704
Case: 1:14-cv-06056 Document #: 190-5 Filed: 10/18/17 Page 16 of 39 PageID #:2705
Case: 1:14-cv-06056 Document #: 190-5 Filed: 10/18/17 Page 17 of 39 PageID #:2706
Case: 1:14-cv-06056 Document #: 190-5 Filed: 10/18/17 Page 18 of 39 PageID #:2707
Case: 1:14-cv-06056 Document #: 190-5 Filed: 10/18/17 Page 19 of 39 PageID #:2708
Case: 1:14-cv-06056 Document #: 190-5 Filed: 10/18/17 Page 20 of 39 PageID #:2709
Case: 1:14-cv-06056 Document #: 190-5 Filed: 10/18/17 Page 21 of 39 PageID #:2710
Case: 1:14-cv-06056 Document #: 190-5 Filed: 10/18/17 Page 22 of 39 PageID #:2711
Case: 1:14-cv-06056 Document #: 190-5 Filed: 10/18/17 Page 23 of 39 PageID #:2712
Case: 1:14-cv-06056 Document #: 190-5 Filed: 10/18/17 Page 24 of 39 PageID #:2713
Case: 1:14-cv-06056 Document #: 190-5 Filed: 10/18/17 Page 25 of 39 PageID #:2714
Case: 1:14-cv-06056 Document #: 190-5 Filed: 10/18/17 Page 26 of 39 PageID #:2715




                   7
Case: 1:14-cv-06056 Document #: 190-5 Filed: 10/18/17 Page 27 of 39 PageID #:2716




                    8
Case: 1:14-cv-06056 Document #: 190-5 Filed: 10/18/17 Page 28 of 39 PageID #:2717
Case: 1:14-cv-06056 Document #: 190-5 Filed: 10/18/17 Page 29 of 39 PageID #:2718
                                                 EXHIBIT A

                                     NOTICE OF SETTLEMENT

                                                LEGAL NOTICE:
           If you worked for Life Time as a Personal Trainer and/or Pilates
     Instructor/Coordinator or similar nomenclature as define in the Operative
   Complaint in California during some or all of the period from August 12, 2010
   through the date of Preliminary Approval, a class action settlement will affect
                                      your rights
                     A court authorized this Notice. This is not a solicitation from a lawyer.

YOU ARE HEREBY NOTIFIED that a proposed class settlement (the “California Settlement Class”) in the
case entitled, Jared Steger, et al., v. Life Time Fitness Inc., et al, Case No. Case No. 1:14-cv-06056, (the
“Action”) filed in the United States District Court of the Northern District of Illinois – Eastern Division
before the Honorable Sharon Johnson (the “Court”), has been reached between California Named
Plaintiffs John Chrispens and Mai Henry (“Plaintiffs” or “Class Representatives”) and Defendants Life Time
Fitness, Inc., LTF Club Management Company, LLC, and LTF Club Operations Company, Inc.
(“Defendants” or, collectively, “Life Time”), collectively referred to as the “Parties”. “Operative
Complaint” means and refers to the Consolidated Complaint filed on January 15, 2015 in the Action. The
Court granted preliminary approval of the California Settlement Class. “California Class Members” or
“California Settlement Class” means and refers to all persons who were employed by Defendants in the
State of California as a Personal Trainer and/or Pilates Instructor/Coordinator or similar nomenclature as
defined in the Operative Complaint at any time during the California Class Period. The proposed California
Settlement Class will resolve all class claims in the California Litigation, as defined in Section 2 below. The
Court ordered this Notice of Settlement be sent to you because you may be a California Class Member.
This Notice of Settlement informs you of the settlement and your legal rights under the California
Settlement Class.

SUMMARY OF CASE

    •   Plaintiffs sued Defendants on behalf of themselves and other California Class Members, for
        various alleged California Labor Code violations and alleged violation of the Fair Labor Standards
        Act (“FLSA”), as further described in Section 2 below. After extensive discovery, investigation and
        an exchange of relevant information, the Parties agreed to participate in private mediation to
        discuss resolution of the claims. After the mediation, the Parties reached the California Class
        Settlement memorialized in the Joint Stipulation of Class Action Settlement and Release of the
        California Litigation on file with the Court, and whose terms are generally summarized in this
        Notice of Settlement.

If you qualify as a California Class Member, you could receive money from the settlement. Your legal
rights are affected whether you act or don’t act. Read this Class Notice carefully.

                         YOUR LEGAL RIGHTS AND OPTIONS IN THIS SETTLEMENT
 SUBMIT A CLAIM FORM      This is the only way to receive payment from the settlement. In exchange for
                          this payment you will give up any rights to sue for the same claims that were
                          part of this settlement.



Questions? Call <<CLAIM ADMIN PH NO>>
www.________________.com
Case: 1:14-cv-06056 Document #: 190-5 Filed: 10/18/17 Page 30 of 39 PageID #:2719
                                                 EXHIBIT A

                                      NOTICE OF SETTLEMENT

 DO NOTHING                You will get no money and you will give up any rights to sue for the same
                           claims that were part of this settlement, except claims under FLSA.
 EXCLUDE YOURSELF          Give up all benefits, including money, from the settlement. Retain all rights
                           you may have against Defendants, explained below.
 OBJECT                    Write to the Court about why you don’t agree with the settlement. The Court
                           may or may not agree with your objection.

 HOW MUCH CAN I            Look at the top of the enclosed Claim Form.
 GET?

    •     Your rights and options – and the deadlines to exercise them – are explained in this Notice.
    •     The Court in charge still has to decide whether to grant final approval of the settlement. If the
          Court approves the settlement and after any appeals are resolved, payments will be made to
          California Class Members who comply with this Notice by submitting a valid claim form.

 1. Why Did I Get This Notice Package?

You are not being sued. Plaintiffs sued Defendants in a class action on behalf of themselves and
similarly situated employees like you.

Defendants’ records show you are a current or former Personal Trainer and/or Pilates
Instructor/Coordinator or similar nomenclature as defined in the Operative Complaint who worked with
Defendants within the state of California during the period from August 12, 2010 through the date of
Preliminary Approval (the “California Class Period”).

You received this Notice of Settlement because you have a right to know about a proposed settlement of
a class action lawsuit and about your options before the Court decides whether to grant final approval of
the settlement. If the Court approves the settlement, and after any objections and appeals are resolved,
a Claims Administrator appointed by the Court will make the payments that the settlement allows.

This Notice of Settlement explains the lawsuit, the settlement, your legal rights, what benefits are
available, who is eligible for them and how to get them.

 2. What Is This Lawsuit About?

Plaintiffs, on behalf of themselves and other California Class Members who worked for Defendants in
California during the California Class Period, made various claims against Defendants in the California
Litigation. “California Litigation” means and refers to the portion of the Action that relates to causes of
action brought under California law and the Fair Labor Standards Act (“FLSA”) that relate to California
Class Members, including without limitation: (a) violation of the FLSA as it relates to Plaintiffs and the
California Class Members only (First Claim for Relief); (b) failure to provide accurate wage statements
(Second Claim for Relief); (c) deduction of business losses and shortages from wages (Third Claim for
Relief); (d) failure to pay the minimum wage (Fourth Claim of Relief); (e) failure to pay overtime (Fifth
Claim for Relief); (f) failure to provide meal and rest periods (Sixth Claim for Relief); (g) forfeiture of vested
vacation wages (Seventh Claim for Relief); (h) failure to timely pay all wages upon resignation or



Questions? Call <<CLAIM ADMIN PH NO>>
www.________________.com
Case: 1:14-cv-06056 Document #: 190-5 Filed: 10/18/17 Page 31 of 39 PageID #:2720
                                              EXHIBIT A

                                    NOTICE OF SETTLEMENT

termination of employment (Eighth Claim for Relief); and (i) violation of California’s Unfair Competition
Law (Ninth Claim for Relief).

 3. What is Defendants’ Position?

Defendants deny all of Plaintiffs’ allegations and that they violated any law. Defendants contend that they
complied with all federal, state and local laws. Specifically, Defendants deny that they failed to provide
inaccurate wage statements, deducted business losses and shortages from wages, failed to pay the
minimum wage, failed to pay overtime, failed to provide meal and rest periods, forfeited vested vacation
wages, failed to timely pay all wages upon resignation or termination of employment, or violated
California’s Unfair Competition Law.

 4. Do I Need to Hire a Lawyer?

You need not hire your own attorney. You are already represented by the attorneys and law firm
indicated below (“Class Counsel”). At the preliminary approval hearing, the Court appointed the following
attorneys as Class Counsel to represent the California Class Members in this Action:

                      Brian D. Chase                                Branigan Robertson
                  Jerusalem F. Beligan                           Branigan Robertson, Inc.
                    BISNAR|CHASE LLP                         9891 Irvine Center Drive, Suite 200
               1301 Dove Street, Suite 120                            Irvine, CA 92618
                Newport Beach, CA 92660                                (951) 202-5463
                     (949) 752-2999

                   Michael L. Fradin
              Law Office of Michael Fradin
              8401 Crawford Ave., Ste. 104
                 Skokie, Illinois 60076
                    (847) 644-3425

However, you may hire your own attorney at your own expense if you choose to do so.

 5. Why Is There A Settlement?

The Court did not decide this case in favor of Plaintiffs or Defendants. Instead of going to trial, after
discovery and a thorough investigation into the facts, both sides agreed to a settlement after mediating
this case before a neutral, third-party mediator. The class claims were settled because Class Counsel and
California Named Plaintiffs believe that the terms of the settlement are fair and reasonable in light of the
strength and weaknesses of the claims and other factors.

 6. How Do I Know If I Am Part Of The Settlement?

California Class Members are all current and former Personal Trainer and/or Pilates
Instructor/Coordinator or similar nomenclature as defined in the Operative Complaint who worked for



Questions? Call <<CLAIM ADMIN PH NO>>
www.________________.com
Case: 1:14-cv-06056 Document #: 190-5 Filed: 10/18/17 Page 32 of 39 PageID #:2721
                                              EXHIBIT A

                                    NOTICE OF SETTLEMENT

Defendants in California during the Class Period. If you fit within these parameters, then you are a
California Class Member and therefore part of the Class Settlement.

 7. What Does The Settlement Provide?

The settlement provides that Defendant is willing to pay up to $700,000 (the “Gross Settlement Amount”
or “GSA”) to fully resolve the claims in the Action. California Class Members who submit timely and valid
Claim Forms will receive money from the Net Settlement Amount or NSA. The Net Settlement Amount is
the portion of the Gross Settlement Amount available for distribution to California Class Members who
submit timely and valid Claim Forms, after deduction of Court approved Class Counsel’s attorneys’ fees
and costs, class representative enhancement payments, and claim administration costs.

Class Counsel will ask the Court to award attorneys’ fees in the amount of $245,000, which represents
thirty-five percent (35%) of the Gross Settlement Amount and litigation costs of up to $50,000 from the
Gross Settlement Amount. In addition, Class Counsel will ask the Court to authorize class representative
enhancement payments from the Gross Settlement Amount of $10,000 to each California Named Plaintiff
to compensate them for the risks, time and expense of each of their involvement in the Action. This
payment is in addition to whatever payment Plaintiffs are otherwise entitled to as California Class
Members.

The Claims Administrator will also be reimbursed for the expense of notifying the California Class
Members of the Class Settlement, processing claims and requests for exclusions submitted by California
Class Members and distributing settlement payments. Claims Administration Costs are estimated not to
exceed $20,000 but may be higher or lower depending on the results of the claim process. In any event,
the cost to administer the Class Settlement will not exceed $20,000.

 8. What Can I Get From the Settlement?

Participating California Class Members will be paid out of the Net Settlement Amount. The Individual
Settlement Payment received by California Class Members will be broken down as follows: thirty-three
and a third percent (33 1/3%) will be allocated as wages, for which IRS Form W-2 shall be issued; sixty-six
and two thirds of percent (66 2/3%) of each Individual Settlement Payment will be allocated as penalties
and interest, for which IRS Form 1099 shall be issued, as appropriate.

If you submit a completed Claim Form by the Response Deadline, you will receive your share of the Net
Settlement Amount after the Court approves the settlement. Your estimated share is listed in the
enclosed Claim Form.

 9. How Was My Share Calculated?

Your share will be calculated and apportioned from the Net Settlement Amount based on the number of
Workweeks you worked during the Class Period divided by the total Workweeks worked by all California
Class Members during the Class Period.

The term “Workweeks” is defined as the number of weeks of employment that each California Class
Member worked for Defendants in the State of California during the California Class Period. Defendants

Questions? Call <<CLAIM ADMIN PH NO>>
www.________________.com
Case: 1:14-cv-06056 Document #: 190-5 Filed: 10/18/17 Page 33 of 39 PageID #:2722
                                               EXHIBIT A

                                     NOTICE OF SETTLEMENT

will determine the number of Workweeks by calculating the number of days each California Class
Member worked for Defendants in the State of California during the California Class Period, dividing by
seven, and rounding up to the nearest whole number.

 10. How Can I Get Payment?

To qualify for payment, you must complete and return a Claim Form. A Claim Form is enclosed with this
Notice of Settlement. Read the instructions carefully, fill out the Claim Form completely, sign and date it,
and mail it postmarked to the Claims Administrator no later than ______, 2017 (45 calendar days after
the initial mailing). Alternatively, you may fax the Claim Form to ________ or submit a Claim Form online
at www.____________.com by completing the procedures set forth on the website and receiving a
confirmation number no later than 11:59 pm, ______, 2017 (45 calendar days after the initial mailing). If
you do nothing or fail to timely and properly submit your Claim Form, you will be included in the
settlement class, and be bound by the terms of the settlement (including the Released Claims described
in Section 12 below), but will not receive money.

California law protects California Class Members from retaliation based on their decision to participate in
a class action settlement.

 11. When Would I Get My Payment?

The Court will hold the Final Approval Hearing on or about <<Final Fairness Hearing Date>> at ______ in
Courtroom 1425 of the Northern District of Illinois, Eastern Division, 327 South Church Street, Rockford,
IL 61101, to decide whether to approve the settlement. If the Court approves the settlement on that date,
your settlement share will be mailed to you within approximately 30 days from that date, unless there are
objections or appeals. If there are objections or appeals, it is always uncertain when they will be resolved,
and resolving them can take time.

 12. What Rights Do I Give Up If I Participate Or Do Nothing?

Unless you exclude yourself, you will remain a California Class Member, and you will be bound by the
terms of the settlement, including the Released Claims described below. That means you cannot sue, or
to continue to sue, or be part of any other lawsuit related to the Released Claims. It also means that all
of the Court’s orders will apply to you and legally bind you.

                                              Released Claims

Upon the final approval by the Court of the settlement, unless you submit a valid and timely opt-out
request, you will be deemed to have released the claims that were pled or could have been pled in the
California Litigation which arose during the California Class Period against Defendants, including without
limitation, statutory, contractual or common law claims for wages, damages, unpaid costs, penalties,
liquidated damages, interest, restitution, equitable relief, or any other relief, including without limitation
claims based on the following categories of allegations: (a) claims for violation of the FLSA as it relates to
California Class Members only; (b) claims for wage statement violations; (c) claims for deduction of
business losses and shortages; (d) claims for the nonpayment of the minimum wage; (e) claims for unpaid
overtime; (f) claims for meal and rest period violations; (g) claims for the forfeiture of vested vacation

Questions? Call <<CLAIM ADMIN PH NO>>
www.________________.com
Case: 1:14-cv-06056 Document #: 190-5 Filed: 10/18/17 Page 34 of 39 PageID #:2723
                                               EXHIBIT A

                                    NOTICE OF SETTLEMENT

wages; (h) claims for the failure to timely pay wages upon discharge or termination of employment; and
(i) claims for violation of California’s Business & Professions Code § 17200, et seq.

 13. How Do I Exclude Myself From The Settlement?

If you do not wish to participate in the settlement, you may exclude yourself (called “opting out”) by
completing and returning the Request for Exclusion (“Opt Out”) Form (“Exclusion Form”). An Exclusion
Form is enclosed with this Notice of Settlement. Read the instructions carefully, fill out the Exclusion Form
completely, sign and date it, and mail it postmarked to the Claims Administrator no later than ______,
2017 (45 calendar days after the initial mailing). Alternatively, you may fax the Exclusion Form to _____
or submit the Exclusion Form online at www.____________.com by completing the procedures set forth
on the website and receiving a confirmation number no later than 11:59 pm, ______, 2017 (45 calendar
days after the initial mailing).

If you timely submit the Exclusion Form, then you will no longer be a member of the class, you will be
barred from participating in any portion of the settlement, you may not object to the settlement, and you
will receive no benefits, including money, from the settlement. If you wish, you may pursue, at your own
expense, any claims you may have against Defendants. If you do not submit a complete and timely
Exclusion Form, you will be included in the class, and you will be bound by the terms of the settlement
(including the Released Claims described in Section 12 above), whether or not you filed a Claim Form
and/or objected to the settlement.

Do not submit both the Claim Form and an Exclusion Form. If you submit both, the Exclusion Form will
be valid, and you will be excluded from the settlement.

 14. When Is The Final Approval Hearing?

The Court will hold a Final Approval Hearing in Courtroom 1425 of the Northern District of Illinois, Eastern
Division, 327 South Church Street, Rockford, IL 61101 on <<Final Fairness Hearing Date and Time>> or
such other, later date as the Court may authorize, to determine whether the settlement is fair, reasonable,
and adequate; and if there are objections, the Court will consider them. The Court will also be asked to
approve Class Counsel’s request for attorneys’ fees and costs, class representative enhancement
payments, and claims administration costs.

The hearing may be continued without further notice to California Class Members. You are not required
to attend the Final Approval Hearing.

 15. How Do I Object To The Settlement And Appear At The Final Approval Hearing?

To object to the settlement, you must file a Notice of Objection with the Court, Courtroom 1425 of the
Northern District of Illinois, Eastern Division, 327 South Church Street, Rockford, IL 61101 and serve copies
of the Notice of Objection to Class Counsel and Defendants’ attorneys:

 CLASS COUNSEL                                     DEFENDANTS’ ATTORNEYS
 Brian D. Chase                                    Nicky Jatana, Esq.
 Jerusalem F. Beligan                              Cynthia J. Emry, Esq.

Questions? Call <<CLAIM ADMIN PH NO>>
www.________________.com
Case: 1:14-cv-06056 Document #: 190-5 Filed: 10/18/17 Page 35 of 39 PageID #:2724
                                            EXHIBIT A

                                   NOTICE OF SETTLEMENT

 BISNAR|CHASE LLP                                Jackson Lewis, PC
 1301 Dove Street, Suite 120                     725 S. Figueroa Street, Suite 2500
 Newport Beach, California 92660
                                                 Los Angeles, CA 90017
 (949) 752-2999
                                                 (213) 689-0404
 Branigan Robertson
 Branigan Robertson, Inc.
  9891 Irvine Center Drive, Suite 200
 Irvine, CA 92618
 (951) 202-5463



 Michael L. Fradin
 Law Office of Michael Fradin
 8401 Crawford Ave., Suite 104
 Skokie, Illinois 60076
 (847) 644-3425




Your Notice of Objection must state your full name, address, telephone number, and a written statement
of all grounds for the objection accompanied by any legal support for such objection and copies of any
papers, briefs, or other documents upon which the objection is based. To be valid and effective, any
objections to approval of the settlement must be filed with the Court and served upon each of the above-
listed attorneys by U.S. mail postmarked no later than <<Claim Deadline>>. DO NOT TELEPHONE THE
COURT.

You do not have to attend the hearing, but you may do so at your own expense. If you file a Notice of
Objection, you do not have to appear at the hearing. As long as you filed your Notice of Objection on
time, the Court will consider it. You may also pay your own lawyer to attend, but it is not necessary.

If the Court approves the settlement despite objections from you or other California Class Members,
you will receive no settlement proceeds and you will be bound by the terms of the settlement (including
the Released Claims described in Section 12 above).

You cannot both object and opt-out. If you submit a timely Exclusion Form and object, the Exclusion
Form will take priority. You will be excluded from the class and you will be prohibited from objecting
to the settlement.


 16. How Do I Get Additional Information?

The above is a summary of the basic terms of the settlement. For the precise terms and conditions of the
settlement, you should consult the detailed Joint Stipulation of Class Action Settlement and Release,
which is on file with the Clerk of the Court.


Questions? Call <<CLAIM ADMIN PH NO>>
www.________________.com
Case: 1:14-cv-06056 Document #: 190-5 Filed: 10/18/17 Page 36 of 39 PageID #:2725
                                               EXHIBIT A

                                    NOTICE OF SETTLEMENT

The pleadings and all other records from this litigation may be examined by visiting the Northern District
of Illinois, Eastern Division, 327 South Church Street, Rockford, IL 61101 during regular office hours (Mon.–
Fri., 8:30 a.m. to 4:30 p.m.). You may also view some of the key documents at www.____________.com.

    If you have questions, you can call the Claims Administrator at (800) ____ or Class Counsel (see
                                     Section 3 for phone number).

 PLEASE DO NOT WRITE OR TELEPHONE THE COURT OR THE OFFICE OF THE CLERK FOR INFORMATION
                    REGARDING THIS SETTLEMENT OR THE CLAIM PROCESS.


DATED: _________________, 2017                                     BY ORDER OF THE COURT
                                                                   HON. SHARON JOHNSON COLEMAN




4811-1010-9004, v. 1




Questions? Call <<CLAIM ADMIN PH NO>>
www.________________.com
     Case: 1:14-cv-06056 Document #: 190-5 Filed: 10/18/17 Page 37 of 39 PageID #:2726


                                              EXHIBIT B

                                            CLAIM FORM

                          Jared Steger, et al., v. Lifetime Fitness Inc., et al.,

                  Your Estimated Individual Settlement Payment is <<EST. AMOUNT>>

To obtain payment under the settlement, you must complete all requested information, sign, date, and
return this Claim Form, (1) by mailing the Claim Form postmarked no later than <<RESPONSE
DEADLINE>>, to:

              Claims Administrator for Jared Steger, et al., v. Life Time Fitness Inc., et al
                                  California Litigation Settlement
                                          <<ADDRESS>>
                                      <<CITY, STATE ZIP>>;

       Or (2) by faxing the Claim Form to ________ no later than <<RESPONSE DEADLINE>>;

  Or (3) by submitting an online Claim Form at <<WEBSITE>> no later than 11:59 pm, <<RESPONSE
                                            DEADLINE>>

                If you miss the deadline, you will not receive any money under the settlement.

A.      PLEASE VERIFY YOUR NAME AND ADDRESS:

     «Barcode» Claim #: MIM-«Claim»-«CD» «MailRec»           Name/Address Corrections (if any):
     «First1» «Last1»                                        ____________________________________
     «c/o»                                                   ____________________________________
     «Address1» «Address2»                                   ____________________________________
     «City», «ST» «ZIP» «Country»                            ____________________________________

B.      EMPLOYMENT INFORMATION:

Defendants’ records indicate you were employed as a Personal Trainer and/or Pilates
Instructor/Coordinator or similar nomenclature as defined in the Operative Complaint (as defined in the
Notice of Settlement), within the State of California. Defendants’ records also show the following:

        Workweeks worked as a Personal Trainer and/or Pilates Instructor/Coordinator or similar
        nomenclature as define in the Operative Complaint between August 12, 2010 to _________
        (excluding leaves of absence) is <<QUALIFYING WORKWEEKS>>>.

If you disagree with the above information, please indicate the correct information and attach
documentation in support. (Please Note: Provide the best documentation possible, including paystubs or
timesheets, but at a minimum a detailed account of your disagreement. Attach additional pages if
necessary).




Questions? Call <<CLAIM ADMIN PH NO>>
     Case: 1:14-cv-06056 Document #: 190-5 Filed: 10/18/17 Page 38 of 39 PageID #:2727


C.       YOUR ESTIMATED INDIVIDUAL SETTLEMENT PAYMENT:

Your estimated Individual Settlement Payment is listed at the top of this Claim Form and is based on the
information in Section B above. This estimated amount may change based on various factors, including
the number of California Class Members who submit a valid and timely Claim Form. This estimated
amount is calculated based on the Net Settlement Amount as described in the Notice of Settlement, and
after all estimated payroll withholdings (excluding employer share of payroll taxes).

D.       ACKNOWLEDGEMENTS AND DECLARATION UNDER PENALTY OF PERJURY:

I have received, reviewed and understand the Notice of Settlement and submit this Claim Form under the
terms of the proposed settlement described therein and as further set forth in the Joint Stipulation of Class
Action for Settlement and Release (“Joint Stipulation”) on file with the court. I acknowledge and agree
that I am giving up the Released Claims against the Released Parties as defined in the Notice of Settlement
and the Joint Stipulation.

I declare under penalty of perjury under the laws of the United States of America and the State of
California that the information I provided above is true.

____________________________                                  ____________________________________
           Dated                                                           Signature

Full Name (Print): _____________________________________________________________________

Last Four Social Security Number: XXX -XX - ___ ___ ___ ___
(Failure to sign and fill in each of the above information will result in the rejection of your claim.)

Email Address (for confirmation of receipt of this Claim Form): __________________________________




4845-1854-8812, v. 1




Questions? Call <<CLAIM ADMIN PH NO>>
Case: 1:14-cv-06056 Document #: 190-5 Filed: 10/18/17 Page 39 of 39 PageID #:2728
                                               EXHIBIT C



                JARED STEGER, ET AL., V. LIFETIME FITNESS, INC., ET AL.
                           CLASS ACTION SETTLEMENT
                    REQUEST FOR EXCLUSION (“OPT OUT”) FORM


Read the enclosed Notice of Settlement (the “Notice”) before filling out this form. The
completion of this form has legal consequences. Please be sure you understand these
consequences before filling out this form. The undersigned has read the Notice, and does NOT
want to remain a member of the settlement class conditionally certified in the case of Jared
Steger, et al., v. Lifetime Fitness Inc., et al., Case No. 1:14-CV-06056, pending in United States
District Court of the Northern District of Illinois – Eastern Division. The underigned
understands that, by completing this form, he or she will not share in any recovery,
monetary or otherwise, that is obtained for the settlement class.

                       PLEASE PRINT CLEARLY IN BLACK OR BLUE INK

Your Name: ___________________________________________________________________
             First             MI                Last

Address:          __________________________________________________________________
                     Street Address

                  __________________________________________________________________
                    City                  State                    Zip

Daytime Telephone Number: __________________ Last Four of SS# ___ ____ ____ ____

Executed on _______________      ____________________________________________________
                Date                                Signature

If you want to exclude yourself from the class, you must complete and return this form by
mailing before [CLAIM DEADLINE], to:

                  Jared Steger, et al. v. Lifetime Fitness, Inc., et al. Class Action Settlement
                  c/o ILYM Group, Inc.
                  Address
                  Address
                  Telephone: [Number]




4816-4872-7372, v. 1
